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                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            CR 18-00643-ODW

 Defendant           Nestor E Ramirez                                        Social Security No. 0         3   6   9
 akas:   mazar@ares                                                          (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.      Nov.    15,   2021

  COUNSEL                                                                Jill Ginstling , DFPD
                                                                            (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                               CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 2: 18:2252A(a)(2)(A),(b)(1): Distribution of Child Pornography
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
                     96 months on Count 2 of the Indictment.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than
$25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution pursuant to 18 U.S.C. § 2259. Pursuant to 18 U.S.C. §
3664(d)(5), a final determination of the victim's losses will be ordered at a deferred restitution hearing after such
information becomes available. An amended judgment will be entered after such determination.


Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established an
inability to pay any fine.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of ten years
under the following terms and conditions:


              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and Second Amended General Order 20-04.


              2. The defendant shall not commit any violation of local, state, or federal law.




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         3.          During the period of community supervision, the defendant shall pay the special assessment in
                     accordance with this judgment's orders pertaining to such payment.

         4.          The defendant shall cooperate in the collection of a DNA sample from himself.


         5.          The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
                     submit to one drug test within 15 days of release from custody and at least two periodic drug tests
                     thereafter, not to exceed eight tests per month, as directed by the Probation Officer.


         6.          The defendant shall participate in an outpatient substance abuse treatment and counseling program
                     that includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The
                     defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
                     medications during the period of supervision.

         7.          As directed by the Probation Officer, the defendant shall pay all or part of the costs of the
                     Court-ordered treatment to the aftercare contractors during the period of community supervision.
                     The defendant shall provide payment and proof of payment as directed by the Probation Officer.
                     If the defendant has no ability to pay, no payment shall be required.

         8.          The defendant shall possess and use only those computers and computer-related devices, screen
                     usernames, passwords, email accounts, and internet service providers (ISPs), social media accounts,
                     messaging applications and cloud storage accounts, that have been disclosed to the Probation Officer
                     upon commencement of supervision. Any changes or additions are to be disclosed to the Probation
                     Officer prior to the first use. Computers and computer-related devices include personal computers,
                     internet appliances, electronic games, cellular telephones, digital storage media, and their peripheral
                     equipment, that can access, or can be modified to access, the internet, electronic bulletin boards, and
                     other computers;

         9.          All computers, computer-related devices, and their peripheral equipment, used by the defendant
                     shall be subject to search, seizure and computer monitoring. This shall not apply to items used at
                     the employment site that are maintained and monitored by the employer.

         10.         The defendant shall comply with the rules and regulations of the Computer Monitoring Program.
                     The defendant shall pay the cost of the Computer Monitoring Program not to exceed $32 per month
                     per device connected to the internet.

         11.         Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep
                     the registration current, in each jurisdiction where the defendant resides, is employed and is a
                     student, pursuant to the registration procedures that have been established in each jurisdiction. When
                     registering for the first time, the defendant shall also register in the jurisdiction in which the
                     conviction occurred if different from the defendant's jurisdiction of residence. The defendant shall
                     provide proof of registration to the Probation Officer within 48 hours of registration.

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         12.         The defendant shall participate in a psychological counseling or psychiatric treatment or a sex
                     offender treatment program, or any combination thereof as approved and directed by the Probation
                     Officer. The defendant shall abide by all rules, requirements, and conditions of such program,
                     including submission to risk assessment evaluations and physiological testing, such as polygraph
                     and Abel testing. The defendant retains the right to invoke the Fifth Amendment.

         13.         As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological
                     counseling or psychiatric treatment, or a sex offender treatment program, or any combination thereof
                     to the aftercare contractor during the period of community supervision. The defendant shall provide
                     payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
                     to pay, no payment shall be required.

         14.          The defendant shall not view or possess any materials, including pictures, photographs, books,
                     writings, drawings, videos, or video games, depicting or describing child pornography, as defined
                     in 18 U.S.C. §2256(8), or sexually explicit conduct depicting minors, as defined at 18 U.S.C.
                     §2256(2). Defendant shall not possess or view any materials such as videos, magazines,
                     photographs, computer images or other matter that depicts "actual sexually explicit conduct"
                     involving adults as defined by 18 U.S.C. §2257(h)(1). This condition does not prohibit the defendant
                     from possessing materials solely because they are necessary to, and used for, a collateral attack, nor
                     does it prohibit the defendant from possessing materials prepared and used for the purposes of the
                     defendant's Court-mandated sex offender treatment, when the defendant's treatment provider or the
                     probation officer has approved of the defendant's possession of the material in advance.

         15.         The defendant shall not own, use or have access to the services of any commercial mail-receiving
                     agency, nor shall the defendant open or maintain a post office box, without the prior written
                     approval of the Probation Officer.

         16.         The defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming
                     pools, playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other
                     places primarily used by persons under the age of 18, with the limited exception that defendant may
                     reside temporarily (for no longer than six months after the time of his release) at his parents'
                     residence if it is within 100 feet of a school, without the prior written authorization of the probation
                     officer.

         17.         The defendant shall not associate or have verbal, written, telephonic, or electronic communication
                     with any person under the age of 18, except: (a) in the presence of the parent or legal guardian of
                     said minor; and (b) on the condition that the defendant notify said parent or legal guardian of the
                     defendant's conviction in the instant offense/prior offense. This provision does not encompass
                     persons under the age of 18, such as waiters, cashiers, ticket vendors, etc., whom the defendant must
                     interact with in order to obtain ordinary and usual commercial services.

         18.         The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by
                     a business or organization that causes the defendant to regularly contact persons under the age of



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         19.         The defendant shall not affiliate with, own, control, or be employed in any capacity by a business
                     whose principal product is the production or selling of materials depicting or describing "sexually
                     explicit conduct," as defined at 18 U.S.C. § 2256(2).

         20.         The defendant's employment shall be approved by the Probation Officer, and any change in
                     employment must be pre-approved by the Probation Officer. The defendant shall submit the name
                     and address of the proposed employer to the Probation Officer at least ten (10) days prior to any
                     scheduled change.

         21.         The defendant shall not reside within direct view of school yards, parks, public swimming pools,
                     playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under
                     the age of 18. The defendant's residence shall be approved by the Probation Officer, and any change
                     in residence must be pre-approved by the Probation Officer. The defendant shall submit the address
                     of the proposed residence to the Probation Officer at least ten (10) days prior to any scheduled
                     move. Defendant may reside with his mother and stepfather after release for no more than six
                     months' time, if their residence is within 100 feet of a school.

         22.         The defendant shall submit to a search, at any time, with or without warrant, and by any law
                     enforcement or probation officer, of the defendant's person and any property, house, residence,
                     vehicle, papers, computers, cell phones, other electronic communication or data storage devices or
                     media, email accounts, social media accounts, cloud storage accounts, effects and other areas under
                     the defendant's control, upon reasonable suspicion concerning a violation of a condition of
                     supervision or unlawful conduct by the defendant, or by any probation officer in the lawful
                     discharge of the officer's supervision functions.

               The Court recommends the defendant to remain housed in the Santa Ana facility until his next
         hearing date on February 28, 2022.

                When designated, the Court recommends defendant to be housed at the FCI, Tucson, Arizona
         or a facility in Inglewood, Colorado.

                     The Court recommends the defendant to participate in the 500-hour RDAP.

         The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the
         substance abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug
         dependency. Further redisclosure of the Presentence Report by the treatment provider is prohibited without
         the consent of this Court.

         The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental
         health evaluations or reports, to the treatment provider. The treatment provider may provide information
         (excluding the Presentence report), to State or local social service agencies (such as the State of California,
         Department of Social Services), for the purpose of the client's rehabilitation.




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         Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not greater than
         necessary, to comply with the purposes set forth in paragraph (2) of this subsection. The Court, in
         determining the particular sentence to be imposed, shall consider -
         The nature and circumstances of the offense and the history and characteristics of the defendant;
         2.     The need for the sentence imposed --
                a.      To reflect the seriousness of the offense; to promote respect for the law, and to provide just
         punishment for the offense;
                b.      To afford adequate deterrence to future criminal conduct;
                c.      To protect the public from further crimes of the defendant; and
                d.      To provide the defendant with needed educational correctional treatment in the most effective
         manner.
         3.     The kinds of sentences available;
         4.     The guideline sentencing range;
         5.     The need to avoid unwarranted sentence disparities among defendants with similar records who have been
         found guilty of similar conduct.
         6.     The need to provide restitution to any victims of the offense.




           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                     November 15, 2021
                     Date                                                  U. S. District Judge

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                           Clerk, U.S. District Court



                     November 15, 2021                      By             Sheila English /s/
                     Filed Date                                            Deputy Clerk



           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                  STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:




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           1.     The defendant must not commit another federal, state, or           9.    The defendant must not knowingly associate with any persons
                  local crime;                                                             engaged in criminal activity and must not knowingly associate
           2.     The defendant must report to the probation office in the                 with any person convicted of a felony unless granted
                  federal judicial district of residence within 72 hours of                permission to do so by the probation officer. This condition
                  imposition of a sentence of probation or release from                    will not apply to intimate family members, unless the court
                  imprisonment, unless otherwise directed by the probation                 has completed an individualized review and has determined
                  officer;                                                                 that the restriction is necessary for protection of the
           3.     The defendant must report to the probation office as                     community or rehabilitation;
                  instructed by the court or probation officer;                      10.   The defendant must refrain from excessive use of alcohol and
           4.     The defendant must not knowingly leave the judicial                      must not purchase, possess, use, distribute, or administer any
                  district without first receiving the permission of the court             narcotic or other controlled substance, or any paraphernalia
                  or probation officer;                                                    related to such substances, except as prescribed by a
           5.     The defendant must answer truthfully the inquiries of the                physician;
                  probation officer, unless legitimately asserting his or her        11.   The defendant must notify the probation officer within 72
                  Fifth Amendment right against self-incrimination as to                   hours of being arrested or questioned by a law enforcement
                  new criminal conduct;                                                    officer;
           6.     The defendant must reside at a location approved by the            12.   For felony cases, the defendant must not possess a firearm,
                  probation officer and must notify the probation officer at               ammunition, destructive device, or any other dangerous
                  least 10 days before any anticipated change or within 72                 weapon;
                  hours of an unanticipated change in residence or persons           13.   The defendant must not act or enter into any agreement with
                  living in defendant’s residence;                                         a law enforcement agency to act as an informant or source
           7.     The defendant must permit the probation officer to                       without the permission of the court;
                  contact him or her at any time at home or elsewhere and            14.   The defendant must follow the instructions of the probation
                  must permit confiscation of any contraband prohibited by                 officer to implement the orders of the court, afford adequate
                  law or the terms of supervision and observed in plain                    deterrence from criminal conduct, protect the public from
                  view by the probation officer;                                           further crimes of the defendant; and provide the defendant
           8.     The defendant must work at a lawful occupation unless                    with needed educational or vocational training, medical care,
                  excused by the probation officer for schooling, training,                or other correctional treatment in the most effective manner.
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;
                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                                States is paid):
                                        Non-federal victims (individual and corporate),
                                        Providers of compensation to non-federal victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, under 18 U.S.C. § 3663(c); and
                              5. Other penalties and costs.

                 CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

                     As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
           credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
           financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
           defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                     When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
           the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
           any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
           Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
           signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
           other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
           Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
           direct or ask anyone else to open or maintain any account on the defendant’s behalf.

                    The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.




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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                 the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal



                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date



                                U. S. Probation Officer/Designated Witness                     Date




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